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                                  Rollins Takes Bold Action Document
                                                            to Stop Wasteful111-10
                                                                            Spending and Filed
                                                                                         Optimize03/12/25        Page
                                                                                                  USDA to Better Serve   1 of 3Agriculture | Home
                                                                                                                       American


                                                    U.S. Department of Agriculture

       P R E S S R E L E AS E

       Secretary Rollins Takes Bold Action to Stop Wasteful
       Spending and Optimize USDA to Better Serve American
       Agriculture
       PUBLISHED:        February 14, 2025
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       Secretary Rollins Takes Bold Action to Stop Wasteful Spending and
       Optimize USDA to Better Serve American Agriculture
       Washington, D.C., Feb. 14, 2025—Today, U.S. Secretary of Agriculture Brooke Rollins
       addressed more than 400 USDA staffers, stakeholders and friends and pledged to bring
       greater efficiency to USDA to ensure it better serves American farmers, ranchers, and the
       agriculture community. She reviewed findings from the Department of Government
       Efficiency and welcomes the opportunity to optimize the USDA workforce and stop wasteful
       spending.
       “I welcome DOGE’s efforts at USDA because we know that its work makes us better,
       stronger, faster, and more efficient. I will expect full access and transparency to DOGE in the
       days and weeks to come,” said Secretary Rollins.
       Since January 20th, USDA has begun a comprehensive review of contracts, personnel, and
       employee trainings and DEI programs. In many cases, programs funded by the Biden
       administration focused on DEI initiatives that are contrary to the values of millions of
       American taxpayers.
       Today, USDA is announcing the first tranche in a series of bold reforms.
       Contracts

https://www.usda.gov/about-usda/news/press-releases/2025/02/14/secretary-rollins-takes-bold-action-stop-wasteful-spending-and-optimize-usda-bette…   1/3
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                                                                            Spending and Filed
                                                                                         Optimize03/12/25        Page
                                                                                                  USDA to Better Serve   2 of 3Agriculture | Home
                                                                                                                       American

       USDA terminated 78 contracts, which totaled more than $132 million. Additionally, more
       than 1,000 contracts are currently under review for potential termination. Here are just 10
       examples of the frivolous Biden-era contracts USDA recently terminated or proposed
       procurements that were discontinued before they went into effect:
         1. Media contracts, including Politico subscriptions: $2.77 million
         2. Diversity, Equity, and Inclusion Onboarding Specialist: $374,000
         3. Diversity Dialogue Workshops: $254,000
         4. International Development for Historically Underrepresented Communities: $298,000
         5. Brazilian Forest and Gender Consultant: $229,000
         6. Women and Forest Carbon Initiative Mentorship Program: $121,000
         7. African and Middle Eastern and Latin America and Caribbean Regions for training,
            education, and access to professional and economic opportunities for women and
            increasing their participation in climate change adaptation activities: $91,000
         8. Central American Gender Assessment Consultant: $29,000
         9. Neighborhood Electric Vehicle Utility Van: $33,000
        10. Hawaii conference room rental for 100-person USDA Meeting on Biodiversity: $11,000
       Employee Trainings and DEI Programs
       On Day One, Secretary Rollins issued a memo to officially rescinded of all Diversity, Equity,
       Inclusion, and Accessibility (DEIA) programs to reprioritize unity, equality, and meritocracy.
       To this end, USDA has identified and canceled 948 employee trainings, 758 of which focused
       on DEI alone. Other canceled trainings include Environmental Justice and gender ideology.
       Workforce Optimization
       USDA is pursuing an aggressive plan to optimize its workforce by eliminating positions that
       are no longer necessary, bringing its workforce back to the office, and relocating employees
       out of the National Capital region into our nation’s heartland to allow our rural communities
       to flourish.
       This is just the beginning. Over the next few days and weeks, Secretary Rollins will have the
       opportunity to review thousands of contracts, grants, cooperative agreements and spending
       across the agency to ensure that every dollar is being spent as effectively as possible to serve
       the people, not the bureaucracy.
https://www.usda.gov/about-usda/news/press-releases/2025/02/14/secretary-rollins-takes-bold-action-stop-wasteful-spending-and-optimize-usda-bette…   2/3
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                                                            to Stop Wasteful111-10
                                                                            Spending and Filed
                                                                                         Optimize03/12/25        Page
                                                                                                  USDA to Better Serve   3 of 3Agriculture | Home
                                                                                                                       American

       Per the President’s directives, Secretary Rollins will lead a new era of USDA to ensure that it
       is the most efficient, nimble, and innovative department to serve American Agriculture
       since it was Established by President Abraham Lincoln.


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